          Case 1:13-cr-00220-JRH-BKE Document 423 Filed 12/10/14 Page 1 of 1

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION



UNITED STATES OF AMERICA                *
                                        *


             v.                         *             CR 113-220
                                        *



TYLER JAMES BARCENAS                    *



                                      ORDER




        Defendant Tyler James Barcenas has filed a motion for reduction of

sentence under 18 U.S.C.      § 3582(c)(2) on the basis that Amendment 782 to

the United States        Sentencing   Guidelines    has revised the guidelines

applicable to drug trafficking offenses.              Even though Amendment 782
became effective on November 1, 2014, no defendant may be released on the

basis of the retroactive amendment before November 1, 2015.            See U.S.S.G.

Amend. 788.       Thus, the Court will undertake a review of cases involving

drug trafficking offenses in due course.           If Defendant is entitled to a
sentence     reduction as    a   result of    amendments   to   the   United   States

Sentencing Guidelines, the Court will make such a reduction sua sponte.
Accordingly, Defendant's motion (doc. no. 327) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this            /0^ day of December,
2014.




                                      HONORABLE J./RANDAL HALL
                                      UNITE2) STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




1     Defendant also requests that this Court appoint counsel to assist him in this
matter, which the Court DENIES at this time. The CLERK is DIRECTED to TERMINATE
the motion for administrative purposes.
